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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

BARBARA JOHNSON, Individually and PLAINTIFF
on Behalf of All Others Similarly Situated

VS. No. 4:20-cv-795

AMIGOS RETAIL MANAGEMENT, LLC, DEFENDANTS
and AMINMOHAMED A. MAKHANI

ORIGINAL COMPLAINT—COLLECTIVE ACTION

COMES NOW Plaintiff Barbara Johnson (“Plaintiff’), individually and on behalf of
all others similarly situated, by and through her attorneys Merideth Q. McEntire and Josh
Sanford of the Sanford Law Firm, PLLC, and for her Original Complaint—Collective Action
against Defendants Amigos Retail Management, LLC, and Aminmohamed A. Makhani
(collectively “Defendant” or “Defendants”), she does hereby state and allege as follows:

I. INTRODUCTION

1. Plaintiff, individually and on behalf of all other hourly-paid cashiers
employed by Defendants, brings this action under the Fair Labor Standards Act, 29
U.S.C. § 201, et seq. (“FLSA”), for declaratory judgment, monetary damages, liquidated
damages, prejudgment interest, and costs, including a reasonable attorney’s fee, as a
result of Defendants’ failure to pay Plaintiff and all others similarly situated an overtime
premium as required by the FLSA.

Z Upon information and belief, for at least three (3) years prior to the filing of
this Complaint, Defendants have willfully and intentionally committed violations of the

FLSA as described, infra.

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ll. JURISDICTION AND VENUE

a: The United States District Court for the Southern District of Texas has
subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331 because
this suit raises federal questions under the FLSA.

4. The acts complained of herein were committed and had their principal effect
against Plaintiff within the Houston Division of the Southern District of Texas. Therefore,
venue is proper within this District pursuant to 28 U.S.C. § 1391.

lil. ©THE PARTIES

6. Plaintiff is a citizen and resident of Harris County.

7. Separate Defendant Amigos Retail Management, LLC (“ARM”), is a
domestic limited liability company.

8. Defendant ARM's registered agent for service is Aminmohamed A. Makhani
at 24607 Long Arrow, San Antonio, Texas 78258.

9. Defendant ARM does business as Amigo’s Express.

10. Separate Defendant Aminmohamed A. Makhani (“Makhani”) is an individual
and resident of Texas.

IV. FACTUAL ALLEGATIONS

15. Plaintiff repeats and re-alleges all the preceding paragraphs of this
Complaint as if fully set forth in this section.

16. Defendant operates a chain of convenience stores in Texas.

17. | Makhani is an owner, principal, officer and/or director of ARM.

18. | Makhani manages and controls the day-to-day operations of ARM, including

but not limited to the decision to not pay Plaintiff an overtime premium.

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19. | Defendant’s annual gross volume of sales made or business done was not
less than $500,000.00 (exclusive of excise taxes at the retail level that are separately
stated) during each of the three calendar years preceding the filing of this Complaint.

20. During each of the three years preceding the filing of this Complaint,
Defendant employed at least two individuals who were engaged in interstate commerce
or in the production of goods for interstate commerce, or had employees handling, selling,
or otherwise working on goods or materials that had been moved in or produced for
commerce by any person, such as food and beverages.

21. Defendant was Plaintiffs employer and the employer of the proposed
collective within the meaning of the FLSA, 29 U.S.C. § 203(d) at all times relevant to this
lawsuit.

22. Plaintiff was employed by Defendant at Defendant's convenience store
location in Houston during the time period relevant to this lawsuit.

23. Plaintiff worked for Defendant during the three years preceding the filing of
this Complaint.

24. At all times material hereto, Plaintiff has been entitled to the rights,
protection and benefits provided under the FLSA.

25. Plaintiff was employed by Defendant as a cashier from November of 2019
until February of 2020.

26. ‘Plaintiff and other cashiers worked as hourly, non-exempt employees at
Amigo’s Express.

27. Plaintiff and other cashiers regularly worked in excess of forty (40) hours

per week.

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28. Defendant paid Plaintiff and other cashiers their regular hourly rate for all
hours worked, including hours worked in excess of forty (40) per week.

29. Defendant did not pay Plaintiff and other cashiers an overtime premium of
one and one half (1.5) times their regular hourly rate for all hours worked in excess of
forty (40) per week.

30. Defendant knew, or showed reckless disregard for whether, the way it paid
Plaintiff and other cashiers violated the FLSA.

V. REPRESENTATIVE ACTION ALLEGATIONS

33. Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as
though fully set forth herein.

34. Atall relevant times, Plaintiff and all other similarly situated cashiers have
been entitled to the rights, protections and benefits provided by the FLSA.

35. Plaintiff brings her claims for relief for violation of the FLSA as a collective
action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

36. Plaintiff brings her FLSA claim on behalf of all hourly-paid cashiers who
were employed by Defendant at any time within the applicable statute of limitations
period, who are entitled to payment of the following types of damages:

A. An overtime premium for all hours worked in excess forty (40) in a week;

B. Liquidated damages; and

C. Attorneys’ fees and costs.

37. | Inconformity with the requirements of FLSA Section 16(b), Plaintiff has filed

or will soon file her written Consent to Join this lawsuit.

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38. The relevant time period dates back three years from the date on which
Plaintiffs Original Complaint—Collective Action was filed herein and continues forward
through the date of judgment pursuant to 29 U.S.C. § 255(a).

39. |The members of the proposed FLSA Collective are similarly situated in that
they share these traits:

A. They were classified as non-exempt from the overtime requirements of the
FSLA and paid an hourly rate;

B. They were subject to Defendant's common policy of failing to pay an
overtime premium for hours worked in excess of forty (40) per week;

C. They had the same or substantially similar job duties; and

D. They recorded their time the same way.

40. Plaintiff is unable to state the exact number of the potential members of the
FLSA Collective but believe that the group exceeds fifty (50) persons.

41. | Defendant can readily identify the members of the Section 16(b) Collective.
The names and physical addresses, email addresses and phone numbers of the FLSA
collective action plaintiffs are available from Defendant, and a Court-approved Notice
should be provided to the FLSA collective action plaintiffs via first class mail, email and
text message to their last known physical and electronic mailing addresses and cell phone
numbers as soon as possible, together with other documents and information descriptive
of Plaintiffs FLSA claim.

42. At all relevant times, Defendant directly hired members of the FLSA

Collective to work for its chain of convenience stores, paid them wages, controlled their

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work schedules, duties, protocols, applications, assignments and employment conditions,
and kept at least some records regarding their employment.

43. At all relevant times, each member of the FLSA Collective regularly
engaged in interstate commerce or handled, sold, or otherwise worked with goods or
materials that had been moved in or produced for interstate commerce.

VI. FIRST CLAIM FOR RELIEF
(Collective Action Claim for Violation of the FLSA)

44. _ Plaintiff repeats and re-alleges all previous paragraphs of this Complaint as
though fully set forth herein.

45. Thisis acollective action filed on behalf of all hourly-paid cashiers employed
by Defendant to recover monetary damages owed by Defendant to Plaintiff and members
of the putative collective for unpaid overtime wages because they were not paid a rate of
one and one half (1.5) times their regular rate for hours worked in excess of forty (40) per
week.

46. __ Plaintiff brings this action on behalf of herself and all other similarly situated
employees, former and present, who were and/or are affected by Defendant's willful and
intentional violation of the FLSA.

47.  Atallrelevant times, Plaintiff and all similarly situated employees have been
entitled to the rights, protection, and benefits provided by the FLSA.

48.  Atall relevant times, Plaintiff and all similarly situated employees have been
“employees” of Defendant, as defined by 29 U.S.C. § 203(e).

49. Atall relevant times, Defendant was an “employer” of Plaintiff and all other
similarly situated employees, as defined by 29 U.S.C. § 203(d).

50. Defendant failed to pay Plaintiff and all similarly situated employees an

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overtime premium for hours worked in excess of forty (40) per week.

51. Because these employees are similarly situated to Plaintiff, and are owed
compensation for the same reasons, the proposed collective is properly defined as
follows:

All hourly cashiers who worked more than forty
hours in any week within the past three years.

52. At all relevant times, Defendant willfully failed and refused to pay Plaintiff
and all other similarly situated employees a proper overtime premium under the FLSA
because Defendant paid Plaintiff and other similarly situated employees their regular
hourly rate for all hours worked over forty (40) in a week.

53. Defendant’s violations entitle Plaintiff and all other similarly situated
employees to compensatory damages calculated as the full amount of overtime wages
owed.

54. Defendant's violations entitle Plaintiff and all other similarly situated
employees to liquidated damages pursuant to 29 U.S.C. § 216(b) of an amount equal to
compensatory damages.

55. Plaintiff and all other similarly situated employees are entitled to an award
of their attorney's fees and court costs pursuant to 29 U.S.C. § 216(b).

Vil. SECOND CLAIM FOR RELIEF
(Individual Claim for Violation of the FLSA)

56. Plaintiff repeats and re-alleges all previous paragraphs of this Complaint
as though fully set forth herein.
57. At all relevant times, Plaintiff has been entitled to the rights, protection,

and benefits provided by the FLSA.

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58. At all relevant times, Plaintiff has been an “employee” of Defendant as
defined by 29 U.S.C. § 203(e).
59. At all relevant times, Defendant was an “employer” of Plaintiff as defined

by 29 U.S.C. § 203(d).

60. Defendant failed to pay Plaintiff an overtime premium as required under
the FLSA.
61. At all relevant times, Defendant willfully failed and refused to pay Plaintiff

a proper overtime premium under the FLSA because Defendant paid Plaintiff her regular
hourly rate for all hours worked over forty (40) in a week.

62. Defendant's violations entitle Plaintiff to compensatory damages
calculated as the full amount of overtime wages owed.

63. Defendant's violations entitle Plaintiff to liquidated damages pursuant to
29 U.S.C. § 216(b) of an amount equal to compensatory damages.

64. Plaintiff is entitled to an award of her attorney's fees and court costs
pursuant to 29 U.S.C. § 216(b).

Vill. PRAYER FOR RELIEF

WHEREFORE, premises considered, Plaintiff Barbara Johnson, individually and
on behalf of all others similarly situated, respectfully requests this Court grant the
following relief:

A. That each Defendant be summoned to appear and answer herein;

B. That Defendant be required to account to Plaintiff, the collective members
and the Court for all of the hours worked by Plaintiff and the collective members and all

monies paid to them;

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C. A declaratory judgment that Defendant's practices alleged herein violate the
Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and attendant regulations at 29 C.F.R.
§ 516, et seq.;

D. Certification of, and proper notice to, together with an opportunity to
participate in the litigation, all qualifying current and former employees;

E. Judgment for damages for all unpaid back wages at the proper overtime
rate owed to Plaintiff and members of the collective from a period of three (3) years prior
to this lawsuit through the date of trial under the Fair Labor Standards Act, 29 U.S.C. §
201, et seq., and attendant regulations at 29 C.F.R. § 516, et seq.;

F. Judgment for liquidated damages pursuant to the Fair Labor Standards Act,
29 US.C. § 201, et seq., and attendant regulations at 29 C.F.R. § 516, et seq.;

G. An order directing Defendant to pay Plaintiff and members of the collective
pre-judgment interest, reasonable attorney’s fees and all costs connected with this action;
and

H. Such other and further relief as this Court may deem necessary, just and

proper.

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Respectfully submitted,

BARBARA JOHNSON, Individually
and on Behalf of All Others
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